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     Sacramento, California 95814
 3   Telephone: (916) 442-5230
 4   Attorney for:
     ARTHUR EVANGELISTA
 5
 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )       CASE NO.    2:08-CR-318 LKK
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )       ORDER RE WAIVER OF DEFENDANT
                                   )       ARTHUR EVANGELISTA’S PRESENCE
13   ARTHUR EVANGELISTA, et. al.   )
                                   )
14                  Defendants.    )
     ______________________________)
15
16        Defendant, ARTHUR EVANGELISTA, hereby waives the right to be
17   present in person in open court upon the hearing of any motion or
18   other proceeding in this cause, including, but not limited to, when
19   the case is ordered set for trial, when a continuance is ordered, and
20   when any other action is taken by the court before or after hearing,
21   except upon arraignment, plea, impanelment of jury and imposition of
22   sentence. Defendant, ARTHUR EVANGELISTA, hereby requests the court to
23   proceed during every absence of his which the court may permit
24   pursuant to this waiver; agrees that his interests will be deemed
25   represented at all times by the presence of his attorney, the same as
26   if defendant were personally present and further agrees to be present
27   in court ready for hearing any day and hour the court may fix in his
28   absence.

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 1        Defendant, ARTHUR EVANGELISTA, further acknowledges that he has
 2   been informed of his rights under Title 18 U.S.C. §§ 3161-3171 (Speedy
 3   Trial Act), and authorizes his attorney to set times and delays under
 4   the Act without defendant, ARTHUR EVANGELISTA, being present.
 5
 6
 7
     DATED: July 22, 2010
 8                            by     /s/ Arthur Evangelista
                                    ARTHUR EVANGELISTA
 9                                  Defendant
                                    (Original on file in Attorney’s Office)
10
11
12   DATED: July 22, 2010
                              by     /s/ Scott N. Cameron
13                                  Scott Cameron
                                    Attorney for ARTHUR EVANGELISTA
14
15
16        IT IS SO ORDERED
17
18   Dated:       July 27, 2010
19
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